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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
______________________________________________________________________________

DIAMONIK HOUGH, ET AL               :     CIVIL ACTION
                                    :
            v.                      :     NO. 20-3508
                                    :
CITY OF PHILADELPHIA                :
______________________________________________________________________________

                       PROPOSED DISCOVERY PLAN UNDER 26(f)

     TO THE HONORABLE ANITA B. BRODY, JUDGE OF THE UNITED STATES
DISTRICT COURT FOR THE EASTERN DISTRICT OF PENNSYLVANIA,
PHILADELPHIA:

       The parties’ counsel identified below participated in a meeting on December 11, 2020

as required by Rule 26(f) of the Federal Rules of Civil Procedure and the Court’s Notice of

Pretrial Conference and have prepared this joint report. The pretrial conference in this matter is

scheduled for a December 14, 2020 at 10:00 a.m. telephone conference before the Honorable

Anita B. Brody.

List counsel:

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I. PROPOSED DISCOVERY PLAN

A.     Rule 26(a) Disclosures

       Plaintiff proposes completing the self-executing disclosures on January 31, 2021 as
required by Rule 26(a).

        The parties request that a 30-day stay be issued in this matter. There are currently at least
five lawsuits filed against the City and various Doe Defendants that are pending in this Court.
These are: Zolitor, et al., v. City of Philadelphia, No. 20-cv-3612, assigned to Judge Schiller;
Weltch, et al., v. City of Philadelphia, No. 20-cv-3432, assigned to Judge Schiller; Smith, et al.,
v. City of Philadelphia, No. 20-cv-3431, assigned to Judge Padova; and McMurrough v. City of
Philadelphia, No. 20-cv-4355, assigned to Judge Savage.

        The cases include over one hundred plaintiffs asserting claims against the City and
unnamed City police officers and officials for actions that took place on I-676 and in and around
52nd Street during protests that occurred in the City following the events in Minneapolis
involving George Floyd. The parties are in the process of negotiating a resolution of these
claims that include a host of non-economic issues, consisting of, inter alia, changes to policing
and training within the City of Philadelphia, as well as money payments. A 30-day stay will
allow the parties the opportunity to continue to discuss a possible resolution to this matter.

        Additionally, a 30-day stay in discovery will permit the parties to proceed with
settlement discussions without imposing further undue burden upon the City.

       The parties are discussing the possibility of consolidating all of the cases for discovery
purposes and to having a single Magistrate Judge assigned to assist the parties in settlement
discussions. A 30-day stay will allow the parties and various counsel in the different lawsuits to
reach an agreement on proceeding with a Magistrate.

       At the end of the 30 days, the parties can report back to the Court which can then
schedule a status conference to determine whether discovery should proceed.

B.     Discovery Subjects

       (A)     Counsel agree that the following discovery subject areas include as set forth
below. (If only one side agrees, then it is noted):


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              1) Plaintiff seeks the identity of the names and badge numbers of all Philadelphia
                 Police Officers involved in the May 31, 2020 events in West Philadelphia,
                 particularly in the neighborhood near 52nd and Markets Streets, as well as all
                 Philadelphia Police Officers involved in the events on June 1, 2020 in the
                 area of the Ben Franklin Parkway, I-676, and the areas along the route of the
                 George Floyd/Black Lives Matter march in Philadelphia, PA on that date.


              2) The identity of the City and Philadelphia Police officials involved in the
                 preparation and planning of the police activities in the area of 52nd and Market
                 Street on May 31, 2020, as well as the preparation and planning for the police
                 activities on June 1, 2020.

              3) The identity and plans of those law enforcement agencies/officials that
                 participated in the police actions on both May 31, 2020 and June 1, 2020.

              4) Plaintiffs’ experience and damages.

              5) Defendant will also seek discovery on Plaintiffs’ mental health history as well
                 as prior medical history for purposes of damages.

              6) Defendant believes that some limits must be placed on the scope of discovery
                 sought by Plaintiffs in this matter, as they are seeking the names of officers
                 who had no involvement and could not have witnessed some, if not all of the
                 incidents outlined in the Complaint. There were a total of approximately 200
                 police officers scheduled to handle the protest through Center City alone,
                 before reinforcements were called up. Many officers were not involved in any
                 of the incidents recounted in the Complaint. Defendant suggests that before
                 Plaintiff begins to simply depose hundreds of officers, some parameters be
                 placed upon discovery that requires the individual Plaintiffs to identify the
                 specific location where they were injured, the identity of any police officers
                 involved or some other parameter that will allow the parties to identify which
                 officers were present and may be witnesses.

        (B)    Based on the number of Plaintiffs, as well as the number of the police officers,
once identified, all Counsel agree that the required depositions will far exceed the number
permitted by the Federal Rules of Civil Procedure. The parties request an order from this
Honorable Court that permits the number of depositions for each party to be undetermined at this
time. Any disagreement regarding the number of depositions will be addressed by Counsel for
both sides prior to approaching the Court with any disputes on this topic.

III.   Pretrial Timetable

       (A) Plaintiff requests a close of discovery date of December 14, 2021.




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       (B) Expert reports are due forty-five (45) days after the close of discovery, on ______

       (C) The parties agree to a 30 day stay as outlined above. At the end of the 30 day stay,
           the parties will report back to the Court concerning a proposed discovery timetable.
           If the Court wishes to enter deadlines at this time, the above-timetable is agreeable to
           the parties, with the proviso that the parties may report back to the Court at the end of
           the 30 day stay period and request additional time to complete discovery or
           participate in settlement negotiations.

IV.    Alternative Dispute Solution

        The parties believe that a settlement conference may be beneficial in the near future as
the parties continue to discuss a possible resolution to the matter.

V.     Other Pretrial Issues

       None at this time.

                                              Respectfully submitted,

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